AO 245B-CAED Case  2:12-cr-00293-JAM
             (Rev. 09/2011)               Document
                            Sheet 1 - Judgment        61 Filed
                                               in a Criminal Case02/26/14 Page 1 of 4

                                           United States District Court
                                   Eastern District of California

         UNITED STATES OF AMERICA                            JUDGMENT IN A CRIMINAL CASE
                    v.                                       (For Offenses Committed On or After November 1, 1987)
         SILVANO VARGAS-ESTRADA                              Case Number: 2:12CR00293 -02

                                                             DANNY BRACE, ESQ.
                                                             Defendant’s Attorney
THE DEFENDANT:

[U]    pleaded guilty to count: 1 of the Superseding Information .

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:
                                                                          Date Offense          Count
Title & Section          Nature of Offense                                Concluded            Number
21 USC 841(a)(1)         MANUFACTURE OF MARIJUANA (Class B7/31/2012                            1
                         Felony)



       The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.


                      [U]     Appeal rights waived.


        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the
court and United States attorney of material changes in economic circumstances.

                                                                               2/18/2014
                                                      Date of Imposition of Judgment

                                                      /s/ John A. Mendez
                                                      Signature of Judicial Officer

                                                      JOHN A. MENDEZ, United States District Judge
                                                      Name & Title of Judicial Officer

                                                      2/25/2014
                                                      Date
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                            Sheet 2 - Imprisonment
CASE NUMBER:     2:12CR00293 -02                                                Judgment - Page 2 of 4
DEFENDANT:       SILVANO VARGAS-ESTRADA

                                                 IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 37 MONTHS .



[U]    No TSR: Defendant shall cooperate in the collection of DNA.

[U]    The court makes the following recommendations to the Bureau of Prisons:
       The Court recommends that the defendant be incarcerated at the Terminal Island California facility, but
       only insofar as this accords with security classification and space availability.


[U]    The defendant is remanded to the custody of the United States Marshal.


[]     The defendant shall surrender to the United States Marshal for this district.
       [ ] at     on .
       [ ] as notified by the United States Marshal.


[]     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       [ ] before on .
       [ ] as notified by the United States Marshal.
       [ ] as notified by the Probation or Pretrial Services Officer.
       If no such institution has been designated, to the United States Marshal for this district.

                                                      RETURN
I have executed this judgment as follows:




       Defendant delivered on                                     to
at                                          , with a certified copy of this judgment.



                                                                               UNITED STATES MARSHAL


                                                                       By
                                                                                        Deputy U.S. Marshal
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AO 245B-CAED (Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                   2:12CR00293 -02                                                                         Judgment - Page 3 of 4
DEFENDANT:                     SILVANO VARGAS-ESTRADA

                                                   CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                       Assessment                       Fine                  Restitution
       Totals:                                           $ 100                           $                        $


[ ] The determination of restitution is deferred until                     . An Amended Judgment in a Criminal Case (AO 245C)
    will be entered after such determination.

[ ] The defendant must make restitution (including community restitution) to the following payees in the amount
    listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment,
       unless specified otherwise in the priority order or percentage payment column below. However, pursuant to
       18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United States is paid.



Name of Payee                                          Total Loss*              Restitution Ordered Priority or Percentage


       TOTALS:                                              $                           $



[]     Restitution amount ordered pursuant to plea agreement $

[ ] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is
    paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of
    the payment options on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18
    U.S.C. § 3612(g).

[ ]       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       [ ] The interest requirement is waived for the [ ] fine                              [ ] restitution

       [ ] The interest requirement for the                     [ ] fine [ ] restitution is modified as follows:




[ ] If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter
    and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.

[ ] If incarcerated, payment of restitution is due during imprisonment at the rate of not less than $25 per quarter
    and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.


  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18
for offenses committed on or after September 13, 1994, but before April 23, 1996.
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AO 245B-CAED (Rev. 09/2011) Sheet 6 - Schedule of Payments
CASE NUMBER:                   2:12CR00293 -02                                                                 Judgment - Page 4 of 4
DEFENDANT:                     SILVANO VARGAS-ESTRADA
                                                        SCHEDULE OF PAYMENTS



      Payment of the total fine and other criminal monetary penalties shall be due as follows:

A     [ ] Lump sum payment of $                 due immediately, balance due

          []        not later than , or
          []        in accordance with             [ ] C, [ ] D, [ ] E, or     [ ] F below; or

B     [U]           Payment to begin immediately (may be combined with [ ] C,                    [ ] D, or [ ] F below); or

C     [ ] Payment in equal     (e.g., weekly, monthly, quarterly) installments of $       over a period of           (e.g.,
          months or years), to commence       (e.g., 30 or 60 days) after the date of this judgment; or

D     [ ] Payment in equal     (e.g., weekly, monthly, quarterly) installments of $     over a period of (e.g.,
          months or years), to commence       (e.g., 30 or 60 days) after release from imprisonment to a term of
          supervision; or

E     [ ] Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release
          from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability
          to pay at that time; or

F     [ ] Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.

[ ] Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:



[ ] The defendant shall pay the cost of prosecution.

[ ] The defendant shall pay the following court cost(s):

[ ] The defendant shall forfeit the defendant’s interest in the following property to the United States:
